                     UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION
In the Matter of:                               }
WILLIAM BARRIER ROBERTS                         }   CASE NO. 18-83442-CRJ-11
SSN: XXX-XX-9314                                }
                                                }   CHAPTER 11
                      Debtor(s).                }



         ORDER SCHEDULING STATUS CONFERENCE ON CONFIRMATION
                     AND ON OBJECTIONS TO CLAIMS


        The above-styled case is scheduled for Confirmation on November 13, 2019. This case is

also scheduled for hearing on October 23, 2019 on various Objections to Claims filed by the Debtor

which are related to the pending Adversary Proceeding styled Roberts v. Murray, et al., AP. No.

19-80017-CRJ-11. The Court finds that a Status Conference should be held prior to the scheduled

Confirmation Hearing pursuant to 11 U.S.C. § 105(d) to discuss the expeditious resolution of this

case.

        IT IS THEREFORE ORDERED, ADJUDGED and DECREED that counsel for the

parties must appear at the Status Conference on October 23, 2019 at 11:30 a.m. before the

Honorable Clifton R. Jessup, Jr. at the Federal Building, 101 Holmes Avenue, Huntsville,

Alabama.



Dated this the 16th day of October, 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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